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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

SANTIGO SANDERS, on behalf of
behlBLANCA
Himself     andDELEON,
                  othersELVIA
                           similarly                CIVIL ACTION FILE NO.
situationedYOLANDA
Situated,                   PERES,
                                                    3:14-cv-163-TCB




       Plaintiff,

            v.

ANTHONY ALAIMO, ANTHONY
ALISTRAND  DEVELOPMENT
ALAIMO, INC; VALOR HOMES 521
LLC and VALOR PLUMBING LLC,

       Defendants.


   PROPOSED ORDER GRANTING DEFENDANTS’ MOTION FOR
                 SUMMARY JUDGMENT


      THIS MATTER, having come before the Court on the Defendants’ Motion

for Summary Judgment, the time for Plaintiff to respond thereto having expired, the

Court having considered the record in this case as a whole, and the Court having

found good cause therefore and being otherwise advised in the premises,

      IT IS HEREBY ORDERED that the Defendants’ Motion for Summary

Judgment is GRANTED.         Plaintiff’s claims as set forth in the Complaint are
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DISMISSED WITH PREJUDICE as to all Defendants. The Court further

DISMISSES WITH PREJUDICE this action as a collective action, finding no

support for the assertion of a collective action on the basis of the record in this case.

Costs of this action shall be taxed against Plaintiff.

      IT IS SO ORDERED.



DATE: ______________                     ________________________________
                                         TIMOTHY S. BATTEN, SR.
                                         UNITED STATES DISTRICT JUDGE
